The defendant was charged in an information with assault in violation of the breach of the peace statute, General Statutes § 53-174, and as a result of the judgment of guilty takes this appeal *Page 345 
pursuant to Circuit Court Rule 7.31. He assigns as error that the trial court erred in concluding on all the evidence that he was guilty of the crime charged beyond a reasonable doubt. An appeal to this Division pursuant to the stated rule requires an examination by us of all the evidence.
From the record of the conflicting evidence before us, the court could reasonably have found the following facts. An argument developed between the defendant and one Martinez in the Marine League Club on Main Street in the city of Stamford. Words and accusations were exchanged during this argument, and thereafter Martinez left the building and waited for the defendant to leave the building also. Martinez waited in front of the central fire station, which is next door to the Marine Club. As the defendant came into view, Martinez struck him, whereupon the defendant attacked Martinez with a knife, inflicting several wounds on Martinez which required thirty-five sutures to close. The court could also reasonably have found, and expressly did find, that the force used by the defendant was greatly in excess of what was required for defense under the circumstances. The trial court's conclusion that the defendant was guilty of assault was warranted.
The increasing number of appeals to the Appellate Division of the Circuit Court which are failing because they are in fact efforts to have the Appellate Division retry the factual aspects of causes persuades us to restate the rules of law on this point. Appeals to the Appellate Division are by way of review of errors of law only. General Statutes § 51-265. Circuit Court Rule 7.31 permits an appeal to the Appellate Division on the ground of lack of evidence as a proper question of law and not an issue of fact. It must be kept in mind that disputes of fact are resolved by the trial court. If, *Page 346 
from all the evidence, the trial court could reasonably have come to certain conclusions which could reasonably lead to its ultimate conclusion of guilt beyond a reasonable doubt, then, in the absence of any misapplication of a rule of law, the Appellate Division will not disturb the trial court's ultimate conclusion of guilt.
The defendant's brief in the instant case concedes the conflict in the evidence, raises questions of credibility, and disputes the weight accorded certain testimony by the trial court. The resolution of these problems was for the trial court, and in resolving them it did not act unreasonably or illegally.
   There is no error.
In this opinion COHEN and DANNEHY, Js., concurred.